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                      UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   EASTERN DIVISION


EUGENIA VEGA,                                   JUDGMENT IN A CIVIL CASE

      Plaintiff,

vs.

CELADON TRUCKING SERVICES, INC.,                CASE NO: 17-1189-STA-egb
et al.
      Defendant.



DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Plaintiff’s Second Motion to Remand entered on November
9, 2017, the Plaintiff’s motion is GRANTED and this case is
REMANDED to the Tennessee Circuit Court of Madison County.
Pursuant to the Stipulation, no costs are awarded.




                                                APPROVED:


s/ S. Thomas Anderson
CHIEF JUDGE UNITED STATES DISTRICT COURT
DATE: 11/9/2017                          THOMAS M. GOULD
                                         Clerk of Court

                                                s/Maurice B. BRYSON
                                         (By)    Deputy Clerk
